                      Case 1:23-mj-00203-MAU Document 1 Filed 08/14/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                Benjamin Michael Shuler
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                    in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

            Code Section                                                      Offense Description
        18 U.S.C. § 231(a)(3) - (Civil Disorder),
        18 U.S.C. § 111(a)(1) - (Assaulting, Resisting, or Impeding Certain Officers),
        18 U.S.C. § 1752(a)(1) - (Entering and Remaining in a Restricted Building or Grounds),
        18 U.S.C. § 1752(a)(2) - (Disorderly and Disruptive Conduct in a Restricted Building or Grounds),
        18 U.S.C. § 1752(a)(4) - (Engaging in Physical Violence in a Restricted Building or Grounds),
        40 U.S.C. § 5104(e)(2)(D) - (Disorderly Conduct in a Capitol Building).
        40 U.S.C. § 5104(e)(2)(F)- (Act of Physical Violence in the Capitol Grounds or Buildings)
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u Continued on the attached sheet.


                                                                                                Issuing Officer’s signature


                                                                                                 Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             08/14/2023
                                                                                                   Judge's signature

City and state:                         :DVKLQJWRQ'&                              Honorable Moxila A. Upadhyaya,
                                                                                               United States Magistrate Judge
